District of Columbia live database-Extract Case                             Page 1 of 2
              Case 1:18-cv-01835-PLF Document 26 Filed 08/03/18 Page 1 of 2



Extracting Case Data ...
Processing case table ...
Processing document table ...
Processing party table ...
Processing attorney table ...
Processing answer table ...
Processing js56 table ...
Processing motion table ...
Processing schedule table ...
Processing filer table ...
Processing applicable_party table ...
Processing dkttext table ...
Processing dktpart table ...
Processing dktentry table ...
Processing schd_person table ...
Processing person table ...

Generating public docket sheet.
Generating non-public docket sheet.
Sending e-mail to InterdistrictTransfer_CASD@casd.uscourts.gov

... Extraction Completed




https://ecf.dcd.circdc.dcn/cgi-bin/ExtractCase.pl?485700126991671-L_1_0-1      8/3/2018
District of Columbia live database-Extract Case                             Page 2 of 2
              Case 1:18-cv-01835-PLF Document 26 Filed 08/03/18 Page 2 of 2




https://ecf.dcd.circdc.dcn/cgi-bin/ExtractCase.pl?485700126991671-L_1_0-1      8/3/2018
